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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                     NO. 06-CR-20280
       vs.
                                                     HON. LAWRENCE P. ZATKOFF
D-1 LUIS JIMENEZ,

      Defendant.
________________________________/

                  ORDER STAYING RELEASE OF DEFENDANT LUIS
                JIMENEZ PENDING FURTHER ORDER OF THIS COURT

       THIS CAUSE came before the Court on the United States’ Motion to Stay the order of

release on bond of defendant Luis Jimenez issued by a United States Magistrate Judge in the

Southern District of California on June 12, 2006. The Court having reviewed the Motion and being

fully advised in the matter, it is ORDERED and ADJUDGED that the release on bond of defendant

Luis Jimenez is stayed pending further order of this Court. It is hereby ORDERED that defendant

Luis Jimenez shall be held in custody so that the Court can review the order to release him pursuant

to 18 U.S.C. § 3145.

       DONE AND ORDERED in Port Huron, Michigan this 15th day of June, 2006.



                                              s/Lawrence P. Zatkoff
                                              LAWRENCE P. ZATKOFF
                                              UNITED STATES DISTRICT JUDGE

cc:    AUSA David Gardey
       Phil DeMassa, Esq.
       U.S. Marshals Service
